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                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF NEW YORK

                                                         03-md-1570 (GBD)(SN)
 In re Terrorist Attacks on September 11, 2001
                                                         ECF Case

This document relates to:
       Burnett, et al. v. Islamic Rep. of Iran, et al., No. 15-cv-9903 (GBD)(SN)

  MEMORANDUM OF LAW IN SUPPORT OF MOTION FOR ENTRY OF PARTIAL
  FINAL DEFAULT JUDGMENTS ON BEHALF OF NON-NATIONAL IMMEDIATE
    FAMILY MEMBERS (OR THEIR FUNCTIONAL EQUIVALENTS) OF NON-
                     NATIONAL 9/11 DECEDENTS

                               (BURNETT NON-NATIONALS 4)

                                        INTRODUCTION

       For the reasons set forth below and in the accompanying Declaration of John M. Eubanks

(“Eubanks Declaration”), with exhibits, and the accompanying memorandum of law, Plaintiffs in

the Burnett action pending before the Court seek partial default judgment awarding the Plaintiffs

included in the exhibits to the Eubanks Declaration (the “Moving Plaintiffs”):

       (1) damages for intentional infliction of emotional distress/solatium under state law for

           immediate family members who were not U.S. nationals on September 11, 2001 (in

           this instance spouses, parents, children, and siblings, or the estate of a spouse, parent,

           child, or sibling, or the functional equivalents of such immediate family members) of

           non-U.S.-national 9/11 decedents in the same per plaintiff amounts previously awarded

           by this Court to various similarly situated plaintiffs;

       (2) prejudgment interest at the rate of 4.96 percent per annum, compounded annually for

           the period from September 11, 2001 until the date of the judgment;

       (3) permission for the Moving Plaintiffs to seek punitive damages or other damages at a

           later date; and
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           (4) for all other Burnett Plaintiffs whose claims are subject to the jurisdiction of this Court

               against the Islamic Republic of Iran, the Islamic Revolutionary Guard Corps, and the

               Central Bank of the Islamic Republic of Iran (collectively the “Iran Defendants”) solely

               under the exception to sovereign immunity found at 28 U.S.C. § 1605B(b), to submit

               applications for damages awards in later stages, to the extent such awards have not

               previously been addressed. Plaintiffs seek this default judgment against the Islamic

               Republic of Iran, the Islamic Revolutionary Guard Corps, and the Central Bank of the

               Islamic Republic of Iran (collectively, the “Iran Defendants”).

Plaintiffs’ request is made in connection with the pending motion for default judgment as to

liability sought against the Islamic Republic of Iran, the Islamic Revolutionary Guard Corps, and

the Central Bank of the Islamic Republic of Iran (collectively, “the Iran Defendants”) in the Burnett

case for non-national claimants that was filed on April 30, 2024. See ECF No. 9733.1

                                    PROCEDURAL BACKGROUND

           Moving Plaintiffs sued the Iran Defendants in connection with the losses they sustained in

the terrorist attacks on September 11, 2001. On December 1, 2016, plaintiffs in the action Burnett,

et al. v. Islamic Rep. of Iran, et al., Case No. 15-cv-9903 (GBD)(SN) (“Burnett/Iran”), whose

claims arose pursuant to the private right of action codified at 28 U.S.C. 1605A(c) moved for

judgment as to liability only. 15-cv-9903, ECF Nos. 65, 66, amended on December 6, 2016, 15-

cv-9903 ECF Nos. 68, 69. On January 31, 2017, the Court entered judgment as to liability only

against the Iran Defendants. See 15-cv-9903, ECF No. 85.

           Since the entry of liability under 28 U.S.C. § 1605A(c), this Court has awarded solatium

damages to thousands of United States-national immediate family members of 9/11 decedents or



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    Unless otherwise noted, all ECF numbers refer to the main MDL docket, No. 03-md-01570.

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non-U.S.-national immediate family members of U.S.-national 9/11 decedents pursuant to Section

1605A(c). Now, the Moving Plaintiffs who do not qualify for judgments under the exception to

sovereign immunity found at 28 U.S.C. § 1605A—because they were not United States nationals

on September 11, 2001 and neither was their loved one who was killed in the terrorist attacks—

seek entry of partial final judgments against the Iran Defendants pursuant to the exception to

sovereign immunity found at 28 U.S.C. § 1605B(b) and the ”pass through” of 28 U.S.C. § 1606 to

claims for intentional infliction of emotional distress under New York state law and Virginia state

law2. These Plaintiffs submit that the Court possesses subject-matter jurisdiction and personal

jurisdiction over the Iran Defendants.

                                                  ARGUMENT

I.       This Court Possesses Subject-Matter Jurisdiction Over the Iran Defendants.
         This Court recently addressed liability for a non-U.S.-national plaintiff in the King case

within this MDL who sustained personal injuries in the attacks on September 11, 2001 and awarded

damages to this plaintiff. See ECF No. 9666. The claims of non-U.S. national victims and their

non-U.S. national family members cannot be brought pursuant to 28 U.S.C. § 1605A(c)—the

statute upon which the Court has granted relief in its prior decisions—because to bring such an

action requires that the plaintiff be “(1) a national of the United States, (2) a member of the armed

forces, (3) an employee of the Government of the United States, or of an individual performing a

contract awarded by the United States Government, acting within the scope of the employee’s

employment, or (4) the legal representative of a person described in paragraph (1), (2), or (3), for

personal injury of death….” See 28 U.S.C. §§ 1605A(c)(1)-(4). The plaintiffs in this motion do




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 As detailed in Exhibit A, two of the Moving Plaintiffs are family members of non-U.S.-national 9/11 decedents who
perished in the terror attacks at the Pentagon in Virginia. The remaining Moving Plaintiffs are family members of non-
U.S.-national 9/11 decedents who perished in the terror attacks in New York at the Twin Towers.

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not fall within the parameters required to pursue a cause of action based upon the terrorism

exception.

       Therefore, these plaintiffs look to 28 U.S.C. § 1605B(b) to provide jurisdiction over their

claims. This section provides:

       A foreign state shall not be immune from the jurisdiction of the courts of the United
       States in any case in which money damages are sought against a foreign state for
       physical injury to person or property or death occurring in the United States and
       caused by—

       (1) an act of international terrorism in the United States; and

       (2) a tortious act or acts of the foreign state, or of any official, employee, or agent
       of that foreign state while acting within the scope of his or her office, employment,
       or agency, regardless where the tortious act or acts of the foreign state occurred.

28 U.S.C. § 1605B(b). Conspicuously absent from this exception to sovereign immunity is the

requirement that the victim or their family members be U.S. nationals to pursue their claims. This

differentiation between the terrorism exception found at Section 1605A and the Justice Against

Sponsors of Terrorism Act found at Section 1605B derives from the location of the act of terrorism

as “occurring in the United States.”

       The Supreme Court has held that “a foreign state is immune from the jurisdiction of courts

in this country unless one of several enumerated exceptions to immunity applies. 28 U.S.C. §§

1604, 1605-1607. If a suit falls within one of these exceptions, the FSIA provides subject-matter

jurisdiction in federal district courts.” Republic of Sudan v. Harrison, 139 S. Ct. 1048, 1053

(2019). In addressing the application of the exception to sovereign immunity codified at 28 U.S.C.

§ 1605B(b) to the terrorist attacks on September 11, 2001, Magistrate Judge Netburn provided the

following analysis (subsequently adopted by Judge Daniels)—adjusted to address the

circumstances at issue in this motion—in recommending that the exception applies here to provide

the Court with subject-matter jurisdiction:


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       [The victims’] claims plainly satisfy many of 28 U.S.C. § 1605B(b)’s requirements.
       [They are] seeking “money damages” from Iran. [28 U.S.C. § 1605B(b)”; see No.
       15-cv-09903, ECF No. 53 at 1082-88 (Burnett complaint [at issue in this
       motion]). Those damages are for “physical injur[ies]” [they] sustained “in the
       United States.” 28 U.S.C. § 1605B(b); see ECF No. 9154-7 at ¶¶ 5-33; No. 15-cv-
       09903, ECF No. 53 at 1081. [Their] injuries were “caused” by the 9/11 Attacks. 28
       U.S.C. § 1605B(b); see ECF No. 9154-7 at ¶¶ 5-33; No. 15-cv-09903, ECF No. 53
       at 1081. And the 9/11 Attacks were “act[s] of international terrorism” on U.S.
       soil. 28 U.S.C. § 1605B(b); see No. 15-cv-09903, ECF No. 53 at 1081.

       One element of 28 U.S.C. § 1605B(b) merits closer attention: the requirement that
       “a tortious act or acts of the foreign state” “caused” the injury. For FSIA purposes,
       “a tortious act” includes the “knowing or deliberately indifferent provision of
       material support to terrorists,” and “cause” incorporates “the traditional test for
       proximate causation[:] . . . ‘some reasonable connection between the act or
       omission of the defendant and the damage which the plaintiff has suffered.’” In re
       Terrorist Attacks on Sept. 11, 2001, 298 F. Supp. 3d 631, 643, 645 (S.D.N.Y.
       2018) (quoting Owens v. Republic of Sudan, 864 F.3d 751, 794 (D.C. Cir.
       2017)). In simple terms, there must be a link between a state’s support for terrorism
       and the plaintiff’s injuries.

       The Court heard evidence linking Iran to the 9/11 Attacks in a 2011 hearing. Based
       on that record, it found that Iran was ‘aware[] of[] and involve[d] in[]” al Qaeda's
       plans and provided “material support” to the terrorist group. In re 9/11, 2011 WL
       13244047, at *26, 41. It concluded that Iran's “material support” proximately
       “caused” the 9/11 Attacks and, by extension, the resulting injuries. Id. at
       *41; see ECF No. 9154-7; cf. ECF No. 9274 at 3 (concluding that Iran proximately
       caused latent injuries). The evidence supporting those findings establishes the last
       element of 28 U.S.C. § 1605B(b)—that Iran’s “tortious act[s]” “caused”
       [plaintiffs’] injuries. See ECF Nos. 2431, 2432, 2433, 2473.

See ECF No. 9506 at 6-7. Magistrate Judge Netburn correctly concluded that these cases meet the

jurisdictional threshold for establishing subject-matter jurisdiction over the Iran Defendants under

28 U.S.C. § 1605B(b), and the Court is free to exercise subject-matter jurisdiction here. This

conclusion was subsequently adopted by the Court. See ECF No. 9666 at 2-4. Therefore, as in the

King case, this Court has subject-matter jurisdiction over these Plaintiffs’ claims under 28 U.S.C.

§ 1330(a). See ECF No. 9506 at 7.




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II.      This Court Possesses Personal Jurisdiction Over the Iran Defendants.

         With subject-matter jurisdiction satisfied through the application of the exception found at

28 U.S.C. § 1605B(b), the Court must assess whether it has personal jurisdiction over the

Defendants. In Harrison, the Supreme Court held, “[t]he FSIA also provides personal jurisdiction

‘where service has been made under [28 U.S.C. §] 1608.” 139 S. Ct. at 1054. Here, the Amended

Complaint in this case was filed on February 8, 2016. See 15-cv-9903, ECF No. 53. Service of

process on a foreign state or a political subdivision of a foreign state is governed by 28 U.S.C. §

1608(a) which “sets out in hierarchical order the . . . four methods by which ‘[s]ervice . . . shall be

made.’” Harrison, 139 S. Ct. at 1054 (quoting 28 U.S.C. § 1608(a)). There is no special

arrangement for service of process between the Plaintiffs here and the Iran Defendants, so service

on the Islamic Republic of Iran and its political subdivision the Islamic Revolutionary Guard Corps

was not possible under 28 U.S.C. § 1608(a)(1). Further, there is no applicable international

convention on service of judicial documents to which both the United States and the Islamic

Republic of Iran are parties such that service under 28 U.S.C. § 1608(a)(2) was also not possible.

On March 1, 2016, Plaintiffs requested service of process on the Islamic Republic of Iran and the

Islamic Revolutionary Guard Corps pursuant to 28 U.S.C. § 1608(a)(3) by requesting that the

requisite documents and Farsi translations be sent “by any form of mail requiring a signed receipt.”

The Clerk Certificate of Mailing on the Islamic Republic of Iran under 28 U.S.C. § 1608(a)(3) was

docketed on March 7, 2016. See 15-cv-9903, ECF No. 55. The Clerk Certificate of Mailing on

the Islamic Revolutionary Guard Corps was also docketed on March 7, 2016. See 15-cv-9903,

ECF No. 57.

         On May 2, 2016, after more than 30 days had passed since the Clerk’s March 7, 2016

Certificates of Mailing without any response from the Islamic Republic of Iran or the Islamic



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Revolutionary Guard Corps, Plaintiffs sought service of process on these defendants pursuant to

28 U.S.C. § 1608(a)(4) via diplomatic channels through the U.S. Department of State. On October

28, 2016, the Clerk of the Court received proof of service from the U.S. Department of State for

service on both the Islamic Republic of Iran and the Islamic Revolutionary Guard Corps stating

that “the documents were delivered to the Iranian Ministry of Foreign Affairs under cover of

diplomatic note numbers 1069-IE and 1070-IE dated and delivered on September 14, 2016.” See

15-cv-9903, docket entry from October 28, 2016.

       The Central Bank of the Islamic Republic of Iran is an “agency or instrumentality” of the

Islamic Republic of Iran, and service of process on an agency or instrumentality of a foreign state

is governed by 28 U.S.C. § 1608(b). Neither of the first two provisions in the hierarchical order

of section 1608(b) applied in this instance, so on March 1, 2016, Plaintiffs requested service on

the Central Bank of the Islamic Republic of Iran pursuant to 28 U.S.C. § 1608(b)(3). The Clerk’s

Certificate of Mailing on the Central Bank of the Islamic Republic of Iran was docketed on March

7, 2016. See 15-cv-9903, ECF No. 54. Plaintiffs received a return receipt indicating that service

had been made on the Central Bank of the Islamic Republic of Iran on March 18, 2016. See 15-

cv-9903, ECF No. 64.

       Plaintiffs submitted their Affidavit of Service as to the Islamic Republic of Iran, the Islamic

Revolutionary Guard Corps, and the Central Bank of the Islamic Republic of Iran pursuant to 28

U.S.C. § 1608 on November 10, 2016. Therefore, this Court possesses personal jurisdiction over

the Iran Defendants in this case because service has been made pursuant to 28 U.S.C. § 1608.

III.   The Iran Defendants Have Defaulted.

       Under 28 U.S.C. § 1608(d), “a foreign state, a political subdivision thereof, or an agency

or instrumentality of a foreign state shall serve an answer or other responsive pleading to the



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complaint within sixty [60] days after service has been made under this section.” On November

10, 2016, Plaintiffs filed a request for entry of a Clerk’s Certificate of Default to be entered on or

after November 15, 2016 which would have been the day after the expiration of the 60-day time

period set forth in 28 U.S.C. § 1608(d). See 15-cv-9903, ECF No. 63 at ¶13. On December 5,

2016, the Clerk’s Certificate of Default was entered against the Iran Defendants. See 15-cv-9903,

ECF No. 67. The Iran Defendants have not appeared at any point in this litigation even after entry

of the Clerk’s Certificate of Default.

IV.    The Iran Defendants are Liable for Intentional Infliction of Emotional Distress
       (“IIED”) Under New York Law and Virginia Law.

       In prior judgments entered on behalf of Plaintiffs in this case against Iran, the Court has

looked to 28 U.S.C. § 1605A(c) that provides a cause of action for U.S. nationals injured or killed

in terrorist attacks supported by designated state sponsors of terrorism. The Moving Plaintiffs in

this motion seek damages against the Iran Defendants despite their status as non-U.S.-nationals at

the time that their family members perished in the 9/11 attacks. As set forth above, this Court

possesses jurisdiction over these Plaintiffs’ claims under 28 U.S.C. § 1605B(b), and the application

of this exception to foreign sovereign immunity triggers the language in 28 U.S.C. § 1606 which

provides that a foreign sovereign who is not entitled to immunity “shall be liable in the same

manner and to the same extent as a private individual under like circumstances.” The D.C. Circuit

has read this provision to ensure that “if an FSIA exception abrogates immunity, plaintiffs may

bring state law claims that they could have brought if the defendant were a private individual.”

Oveissi v. Islamic Rep. of Iran, 573 F.3d 835, 841 (D.C. Cir. 2009). The Amended Complaint in

this case does not explicitly include claims for IIED under New York or Virginia law. As the Court

explained in the context of common law claims for assault and battery:




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       The crux of default is a defendant’s admission of the “factual allegations” laid out
       in the complaint. “[I]t remains for the court to consider whether the unchallenged
       facts constitute a legitimate cause of action . . . .”

       In the FSIA context, “[w]hile [plaintiffs] d[o] not have to identify the specific
       source of law in [their] complaint,” they must “do so at an appropriate time in the
       litigation.” Plaintiff has certainly asserted assault and battery claims in the instant
       motion. This Court agrees with Magistrate Judge Netburn’s conclusion that because
       (a) Plaintiff’s complaint alleges facts which “cogently charge[] Iran with legal
       responsibility for his injuries,” and (b) Plaintiff has clearly identified assault and
       battery causes of action in the instant motion, this Court may consider Plaintiff’s
       assault and battery claims against Iran.

ECF No. 9666 at 6-7 (citations omitted).

       The Moving Plaintiffs have precisely followed this precedent. These Plaintiffs pleaded

factual allegations that clearly asserted the Iran Defendants’ legal responsibility for the death of

their family members on 9/11:

       •       “Iran . . . entered into an alliance with al-Qaeda . . . to work together to conduct
               terrorist operations against the United States.” No. 15-cv-09903, ECF No. 53 at ¶
               4976.

       •       Through that partnership, “Iran . . . had actual foreknowledge of[] . . . the 9/11
               [A]ttacks . . . [,] which were carried out by members of al-Qaeda.” Id. at ¶ 5006.

       •       In the lead up to 9/11, “Iran . . . assist[ed] in, and contribut[ed] to, the
               preparation and execution of the plans” for the Attacks, id. at ¶ 4951, including
               by providing “instruction, training, direction, financing, and support” to al Qaeda,
               id. at ¶ 5031.

       •       “In furtherance of those plans, the al-Qaeda hijackers deliberately caused
               planes to crash into the World Trade Center Towers, the Pentagon, and a field
               in Shanksville, Pennsylvania on September 11, 2001.” Id. One of the hijacked
               planes, “American Airlines Flight 11[,] . . . crashed . . . into the North Tower of the
               World Trade Center in New York . . . , causing the collapse of the tower, the deaths
               of the 9/11 Decedents, and injuries to other plaintiffs,” including the Non-U.S.
               National Plaintiffs. Id. at ¶ 5013.

Further, they have pleaded factual allegations that support their own claims to injuries sustained

through their loss:

       •       “The support provided by Iran included assistance in, and contribution to, the
               preparation and execution of the plans that culminated in the hijacked flights, the

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                extrajudicial killings of the 9/11 Decedents, and the injuries to the surviving
                plaintiffs.” No. 15-cv-09903, ECF No. 53 at ¶ 4951.

        •       “As a direct and proximate result of the intentional, willful, reckless, and careless
                actions of Defendants, all Plaintiffs have suffered severe and permanent personal
                injuries, damages, and losses, including … loss of consortium, solatium, and/or
                companionship….” Id. at ¶ 5032.

        •       “As a direct and proximate result of the Defendants’ cowardly, barbaric and
                outrageous acts of murder, Plaintiffs will forever grieve the deaths of the 9/11
                Decedents.” Id. at ¶ 5043.

        •       “…the estates, survivors and family members of the 9/11 Decedents … are entitled
                to recover damages against Defendants for injury, wrongful death, survival,
                intentional infliction of emotional distress, and solatium.” Id. at ¶ 5053.

        •       “As a direct and proximate result of the Defendants’ acts …, the heirs and families
                of those murdered suffer and will continue to suffer permanent, physical and
                emotional distress, severe trauma, and lasting physical, emotional, and
                psychological injuries.” Id. at ¶ 5065.

Therefore, by implication, the Moving Plaintiffs have identified IIED as an appropriate cause of

action in the Amended Complaint and also in the instant motion for default judgment. Thus, this

Court should rely upon this theory of liability in reviewing the evidence to determine that these

plaintiffs are entitled to the relief sought.

        A.      Choice-of-law Analysis

        Where the Court has determined that an exception to immunity applies, and 28 U.S.C. §

1606 is implicated, then the choice-of-law rules applicable to any other actor within this forum

would apply here—that is, New York’s choice-of-law analysis applies here. See Cassirer v.

Thyssen-Bornemisza Collection Found., 124 S. Ct. 1502, 1508 (2022); see also Barkanic v. Gen.

Admin. of Civ. Aviation of People’s Rep. of China, 923 F.2d 957, 959-60 (2d Cir. 1991). Therefore,

the Iran Defendants are subject to suit for IIED in the same manner that other private defendants

would be.




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       New York has different choice-of-law rules for different types of claims. IIED claims are

considered “conduct-regulating,” so the law of the “ ‘place of the tort’ ” controls. Padula v. Lilarn

Prop. Corp., 84 N.Y.2d 519, 522 (1994) (quoting Schultz v. Boy Scouts of Am., 65 N.Y.2d 189,

196 (1985)). For current purposes, that “place” is the jurisdiction “where the last event necessary

to make the [defendant liable occurred,” even if “the defendant’s [mis]conduct … occurred … in

another [jurisdiction].” Schultz, 65 N.Y.2d at 195 (1985). As this Court explained in a prior Order

on the choice of law issue in the instant context for non-U.S. national family members, the relevant

events occurred when al Qaeda terrorists crashed hijacked passenger jets into “the Twin Towers,

a field near Shanksville, and the Pentagon.” See ECF No. 9287 at 4. Accordingly, the claims

brought by the family members of people killed in the attacks at the Twin Towers and the Pentagon

are respectively governed by New York and Virginia law. New York law requires courts to analyze

choice-of-law on a party-versus-party or tort-by-tort basis, not by looking at the case as a whole.

See Edwards v. Erie Coach Lines Co., 17 N.Y.3d 306, 329 (2011). Thus, the Court must analyze

the IIED claims of the respective Moving Plaintiffs under New York and Virginia law.

       B.      Plaintiffs Have Properly Pleaded IIED Claims Under New York and Virginia
               Law.

       Under New York law, the following are the elements of an IIED claim: (1) extreme and

outrageous conduct, (2) intent to cause, or disregard of a substantial probability of causing, severe

emotional distress, (3) a causal connection between the conduct and injury, and (4) severe

emotional distress. Petkewicz v. Dutchess Cty. Dep’t of Cmty. & Fam. Servs., 137 A.D.3d 990,

27N.Y.S.3d 264 (2016). Similarly, under Virginia law, a successful IIED claim includes the

following elements: (1) the wrongdoer's conduct was intentional or reckless; (2) the conduct was

outrageous and intolerable; (3) there was a causal connection between the wrongdoer's conduct

and the emotional distress; and (4) the emotional distress was severe. Harris v. Kreutzer, 271 Va.


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188, 203, 624 S.E.2d 24 (2006). As this Court has previously recognized, an IIED claim under

either New York or Virginia law also generally requires that the plaintiff witness or be present for

the outrageous conduct. See ECF No. 9287 at 6. However, as discussed infra, courts have

concluded that the presence element of an IIED claim is not required in the special context of

family members suing state sponsors of terrorism (like Iran) under Section 1605A. See, e.g.,

Peterson v. Islamic Republic of Iran, 515 F. Supp. 2d 25, 42 (D.D.C. 2007) (collecting cases and

discussing the exception to the presence element for an IIED claim under various state laws);

Republic of Sudan v. Owens, 194 A.3d 38, 40 (D.C. 2018) (answering certified question from

United States Court of Appeals for the District of Columbia Circuit (“D.C. Circuit”)); and Kumar

v. Republic of Sudan, 2019 WL 13251350, at 12-13 (E.D. Va. July 31, 2019) (finding that

“presence” is not required in the ”special context” of a civil suit against a state sponsor of terror).

       With regard to the first four elements of an IIED claim under either New York or Virginia

law, Moving Plaintiffs submit that an act of terrorism is by definition extreme and outrageous and

is intended to cause the highest degree of emotional distress. Stethem v. Islamic Republic of Iran,

201 F.Supp. 78, 89 (D.D.C. 2002). The Moving Plaintiffs with family members who perished at

the Twin Towers and the Pentagon have clearly met the first four requisite elements of an IIED

claim under both New York and Virgina state law. See In re Terrorist Attacks on Sept. 11, 2001,

No. 03 MDL 1570 (GBD), 2011 WL 13244047 (S.D.N.Y. Dec. 22, 2011) (conclusions of law ¶¶

18-35) (ECF No. 2515). This Court has previously found that “[t]he 9/11 terrorist attacks are

contrary to the guarantees ‘recognized as indispensable by civilized peoples.’” ECF No. 2515 at

50. Further, this Court also found that “plaintiffs have established that the 9/11 attacks were caused

by Defendants’ [including Iran’s] provision of material support to al Qaeda,” id. at 52, and met the

solatium requirements under 1605A(c). Id. at 53.



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        This Court specifically found Iran liable for providing wide-ranging material support for

al Qaeda in connection with the 9/11 Attacks. Under the above-referenced black letter law, this

conduct clearly is “outrageous” and “extreme,” clearly disregarded “a substantial probability of

causing, severe emotional distress” and caused resulting emotional distress. While this Court

previously found Iran liable under Section 1605A and therefore “an analysis of liability under state

law [wa]s unnecessary”, id. at n.9, this Court then cited Owens v. Republic of Sudan, 826 F.Supp.2d

128 (D.D.C. 2011), a case which found Sudan liable under state common law for similar

facilitating conduct. In a subsequent decision less than a year later, this Court then entered

judgments against non-sovereign defendants under state law traditional tort principles, for

similarly facilitating conduct Iran was found to have committed. See ECF No. 2618 at 14. The

Court should similarly conclude that under New York and Virginia state law, the Moving Plaintiffs

have met the first four elements of an IIED claim based upon Iran’s actions in support of the 9/11

Attacks.

        C.       The “Presence” requirement in IIED cases is overruled in situations involving
                 state-sponsored terrorism.

        As referenced above, courts in the District of Columbia, relying upon the Second

Restatement of Torts3, have specifically concluded that the “presence” element is not required to

sustain an IIED claim in the unique context of a family member’s civil suit against a state sponsor

of terror like Iran for the death of a loved one. The District of Columbia's highest state court has

confirmed that the IIED elements established in the Second Restatement of Torts provide the



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  Like the District of Columbia, New York and Virginia have also adopted the Second Restatement's formulation of
the cause of action for IIED. See Taggart v. Costabile, 131 A.D.3d 243, 249, 14 N.Y.S.3d 388, 393 (2015) (noting
that the New York Court of Appeals first adopted the Second Restatement's formulation of intentional infliction of
emotional distress in Fischer v. Maloney, 43 N.Y.2d 553, 402 N.Y.S.2d 991, 373 N.E.2d 1215 (1978)); and Russo v.
White, 241 Va. 23, 26–27, 400 S.E.2d 160, 162–63 (1991) (noting that Virginia’s approach to IIED claims, as
established in Womack v. Eldridge, 215 Va. 338, 210 S.E.2d 145 (1974), was “patterned after the [Second]
Restatement definition.”)

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proper standard to apply. Republic of Sudan v. Owens (Owens III), 194 A.3d 38, 41 (D.C. 2018).

As the Owens III court explained, the “elements of an IIED claim arising from injury to a member

of the plaintiff's immediate family” are established by § 46 of the Restatement, which sets out the

following elements of IIED liability:

        (1) One who by extreme and outrageous conduct intentionally or recklessly causes
        severe emotional distress to another is subject to liability for such emotional
        distress, and if bodily harm to the other results from it, for such bodily harm.
        (2) Where such conduct is directed at a third person, the actor is subject to liability
        if he intentionally or recklessly causes severe emotional distress
                 (a) to a member of such person's immediate family who is present at the
                 time, whether or not such distress results in bodily harm, or
                 (b) to any other person who is present at the time, if such distress results in
                 bodily harm.

Id. (quoting the Second Restatement of Torts § 46 (1968)).

        Importantly, the Owens III court went on to clarify that a claimant who alleges emotional

distress arising from a terrorist attack that injured or killed a family member need not have been

present at the scene of the attack to state a cognizable IIED claim for relief. Id. at 42–45. In other

words, the court “held that when emotional distress is caused by conduct directed at a member of

a plaintiff's family, the plaintiff must,” as a general rule, be “present at the time” of the conduct in

order to make out an IIED claim[,]” but also “carved out” what it called ‘the FSIA Terrorism

Exception’ to the presence requirement” in the limited context of “cases brought under § 1605A,”

Owens v. Republic of Sudan (Owens IV), 924 F.3d 1256, 1259 (D.C. Cir. 2019) (quoting Owens

III, 194 A.3d at 41, 42). The Court specifically found this exception to be permitted by the

comments to the Restatement itself. See Owens III, 194 A.3d at 42 (citing the Second Restatement

of Torts § 46 (1968) Caveat & cmt. i).

        Thus, Owens III confirmed that the same general principles of tort law that govern the

claims brought by directly injured plaintiffs within one of 1605A’s enumerated categories also



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govern claims brought by immediate family members who pursued claims via District of Columbia

law. Indeed, several other courts have reached the same conclusion with regard to the FSIA

terrorism exception to the “presence” requirement for a successful IIED claim. See, e.g., Peterson

v. Islamic Republic of Iran, 515 F. Supp. 2d 25, 43–44 (D.D.C. 2007) (collecting cases and

specifically finding that New York and Virginia law would allow IIED claims to be brought by

family members in the terrorism context without having to establish a presence requirement);

Barry v. Islamic Republic of Iran, 437 F.Supp.3d 15, 51 (D.D.C. 2020) (relying on Owens III in

finding that the presence element is not required in the unique context of IIED claims brought by

family members against a state sponsor of terror); Kumar v. Republic of Sudan, 2019 WL

13251350, at *12-13 (E.D. Va. July 31, 2019) (finding that “presence” is not required in the

”special context” of a civil suit against a state sponsor of terror); and Maxwell v. Islamic Republic

of Iran, No. 22-cv-173 (RC), 2024 WL 1342775, at *25 (D.D.C. Mar. 29, 2024) (same).

        Similarly, the Moving Plaintiffs submit that under New York and Virginia law, they were

not required to be present during the terror attacks at the Twin Towers and the Pentagon in order

to sustain their IIED claims in this unique context of a civil suit against a state sponsor of terror.4

As District of Columbia law demonstrates, courts (like New York and Virginia) that apply the

Second Restatement have found that the Restatement's exception to the presence requirement for

“conduct ... directed at a third person,” see Second Restatement of Torts, § 46, comment 1, applies

in FSIA cases because “a terrorist attack-by its nature-is directed not only at the victims but also

at the victims’ families.” Peterson v. Islamic Republic of Iran, 515 F. Supp. 2d 25, 43–44 (D.D.C.

2007) (citation and quotation omitted) (collecting cases and concluding that New York and



4
  Alternatively, the Moving Plaintiffs argue that they have otherwise met the presence requirement for IIED claims as
the tragic events of September 11, 2001, were broadcast live around the world in real time. These family members
watched as the Twin Towers collapsed on their loved ones and the Pentagon burned following these terror attacks.

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Virginia would not apply a presence requirement given the severe nature of terrorist attacks). Thus,

the Moving Plaintiffs submit that both New York and Virginia law would recognize this exception

to the presence requirement. To hold otherwise would “do little more than shield culpable

defendants (like Iran) from liability and deny relief to deserving plaintiffs.” Owens III, 194 A.3d

at 44.

V.       IIED Damages Should be Awarded to the Immediate-Family-Member Plaintiffs Here
         Under the Court’s Previously Adopted Solatium Damages Framework.

         The Moving Plaintiffs identified in Exhibit A further request that this Court grant them

partial default judgment as to damages against the Iran Defendants. Plaintiffs respectfully submit

that the Court should adopt and apply the same damages procedures here that the Court has applied

in this case to actions maintained under § 1605A. Equity dictates that non-U.S. national Plaintiffs

be entitled to the same damages regime as had been applied to § 1605A claims throughout this

case. See ECF No. 2618 at 14 (awarding Havlish plaintiffs common law damages against non-

sovereign defendants in same amounts as § 1605A claims against Iran “under traditional tort

principles” even though Havlish plaintiffs did not maintain Anti-Terrorism Act claims against

these defendants and Section 1605A claims were inapplicable as to these defendants).

         Accordingly, while § 1605B(b) confers jurisdiction, the appropriate damages framework

for Plaintiffs’ common-law claims should be the same framework that has been applied to claims

maintained under § 1605A, as set forth below. This is also true given the determination by this

Court and others that there exists an “interest in promoting uniformity of determinations with

respect to [state sponsored terrorist acts].” See ECF No. 3363 at 2. This is further underscored by

this Court’s rationale as stated in the King case that “considerations of fairness dictate that the

preexisting … damages framework applies to non-U.S. nationals as well.” ECF No. 9666 at 9.

Magistrate Judge Netburn’s Report and Recommendation (adopted by the Court) provided a


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salient rationale that “doing so will promote the efficient adjudication of this litigation and, more

importantly, restore a measure of parity to plaintiffs of different nationalities…. [T]he 9/11 Attacks

did not just devastate U.S. nationals and their families; they killed 372 people from over 90

countries and injured many more. And yet, non-U.S. nationals have not shared in the default

judgments entered against Iran in this litigation—largely due to legal hurdles unique to their

claims. As we parse these issues and grant judgments in favor of non-U.S. national plaintiffs,

justice demands that we honor their losses as we do those of U.S. nationals.” ECF No. 9506 a 14.

       The Moving Plaintiffs identified in Exhibit A now respectfully request that this Court grant

them an Order awarding them (1) IIED damages for the losses they suffered as the immediate

family members (in this instance, spouses, parents, children, and siblings, or the estate of a spouse,

parent, child, or sibling) of their decedents in the same per plaintiff amounts previously awarded

by this Court to U.S.-national solatium claimants under 28 U.S.C. § 1605A(c), namely,

$12,500,000 to the spouse of a 9/11 decedent, $8,500,000 to the child of a 9/11 decedent,

$8,500,000 to the parent of a 9/11 decedent, and $4,250,000 to the sibling of a 9/11 decedent; (2)

prejudgment interest at the rate of 4.96 percent per annum, compounded annually for the period

from September 11, 2001 until the date of the judgment; (3) permission for the Moving Plaintiffs

identified in Exhibit A to seek punitive damages or other damages at a later date; and (4) for all

other similarly situated Burnett Plaintiffs to submit applications for damages awards in later stages,

to the extent such awards have not previously been addressed.

       When previously awarding solatium damages in this case under 28 U.S.C. § 1605A(c), this

Court has looked at the framework established by District Judge Royce C. Lamberth in Estate of

Heiser v. Islamic Republic of Iran, 466 F. Supp. 2d 229 (D.D.C. 2006), where the court awarded

solatium damages to each spouse of a deceased victim in the amount of $8 million, to each parent



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in the amount of $5 million, and to each sibling in the amount of $2.5 million. Id. This formula,

however, may be adjusted upward or downward when circumstances warrant. See, e.g., Estate of

Bland v. Islamic Republic of Iran, 831 F. Supp. 2d 1 50, 156 (D.D.C. 2011); Valore, 700 F. Supp.

2d at 85.

       Analyzing the solatium claims of the families of the Havlish victims who perished in the

9/11 Attacks, Magistrate Judge Maas concluded that an upward departure from Judge Lamberth’s

framework in Heiser was appropriate. In Havlish, Judge Maas explained that an upward departure

was warranted because the decedents’ immediate family members suffered, and continue to suffer,

“profound agony and grief and, [w]orse yet, . . . are faced with frequent reminders of the events of

that day.” See ECF No. 2619 at 10-12. Judge Maas noted in his July 30, 2012 Report and

Recommendation the “extraordinarily tragic circumstances surrounding the 9/11 Attacks and their

indelible impact on the lives of the victims’ families.” Id. at 11. In that Report, with which this

Court later agreed, Magistrate Judge Maas recommended that solatium damages be awarded to the

immediate family members of the victims of the 9/11 Attacks in the following amounts:

              Relationship of Decedent                        Solatium Award
                       Spouse                                   $12,500,000
                       Parent                                    $8,500,000
                        Child                                    $8,500,000
                       Sibling                                   $4,250,000

ECF No. 2619 at 11.

       The solatium IIED damages suffered by the Moving Plaintiffs identified in Exhibit A

before the Court in this application are legally and factually comparable to those suffered by the

other plaintiffs in Burnett and the plaintiffs in the Havlish, Ashton, Bauer, and Hoglan cases.

Therefore, the Moving Plaintiffs identified on Exhibit A respectfully request that the Court grant




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them awards of IIED damages in the same amounts awarded to solatium claimants under the

terrorism exception.

VI.    Damages Should be Awarded to the Non-Immediate-Family-Member Plaintiffs Here
       who are Functionally Equivalent to Immediate Family Members of 9/11 Decedents.

       In this Court’s October 14, 2016 Report and Recommendation, adopted in

pertinent part by Judge Daniels (ECF No. 3384), the Court recognized that, in addition to

awarding damages to individuals considered traditional “family members,” the Court

may also award damages to non-immediate family members who meet certain criteria

establishing that she or he had the “functional equivalent” of an immediate family

member relationship with a September 11, 2001 decedent. These categories of non-

immediate family members included fiancées and domestic partners, step-relatives,

aunts, uncles, nieces, nephews, and cousins. See ECF No. 3363.

       In that Report, the Court identified factors the Court would consider as relevant

for determining whether, for awarding damages, a domestic partner would be

considered the “functional equivalent” of a spouse and whether a stepsibling would be

considered the “functional equivalent” of a sibling. The factors that the Court identified

as relevant in the context of domestic partnership are “the duration of the relationship,

the degree of mutual financial dependence and investments in a common life together,

the duration of cohabitation and the presence or absence of a formal engagement.” Id. at

14-15. The framework that the Court adopted in the context of step-relations is this: “…

stepsiblings who became part of the family when the decedent was in early childhood

(roughly birth through age eight) may be deemed fully functional equivalent to biological

parents or siblings and shall be entitled to full solatium damages and stepchildren who

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were in the same range when the decedent became part of their family shall be deemed

fully equivalent to biological children,” “. . . stepsiblings who became part of the family

when the decedent had passed early childhood but was still living in the family home

and undergoing secondary education (roughly ages 9 through 17) may be entitled to

solatium damages reduced by one-half, and stepchildren who were in this age range

when the decedent who became part of the family shall receive half damages as well,”

and “. . . stepsiblings who became part of the decedent’s family when the decedent had

nearly finished his secondary education (roughly age 18 and above) and/or did not

cohabit with the decedent for a significant period of time will likely not be deemed

functional equivalents of immediate family members and shall not be illegible for

solatium awards, with the same being true for stepchildren who were this age when the

decedent became part of their family. In all cases, the Court will recommend solatium

awards only for those step-relatives that cohabited with the decedent and establish that

they otherwise had a close and longstanding relationship.” Id. at 15-16.

       The information in the accompanying declarations confirm that the Moving

Plaintiffs identified on Exhibit B meet the Court’s prior standard for “functional

equivalence” entitling them to awards for IIED damages.

       The losses claimed by the Moving Plaintiffs identified in Exhibit B are legally and factually

comparable to those suffered by other claimants previously awarded solatium damages in this

litigation under 28 U.S.C. § 1605A(c). The deaths here were sudden and unexpected and were the

result of the terrorism defendants’ extreme acts of malice. The decedents were civilians whose

deaths were intended to create an environment of fear and terror. The claimants here were not


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attenuated victims — they had a familial relationship with the 9/11 decedent and were directly and

irrevocably harmed by the terrorist acts and consequences. Accordingly, the presumptive values

for solatium damages previously adopted by the Court for solatium damages under 28 U.S.C. §

1605A(c) should apply equally to claims for IIED for the Moving Plaintiffs on Exhibit B.

       A.      Solomon Gayle, Fiancé of 9/11 Decedent Seilai Khoo, Seeks a Determination
               that he is the Functional Equivalent of Seilai Khoo’s Husband with a requested
               award of IIED damages of $12,500,000.

       As set forth in the Declaration of Solomon Gayle, attached as Exhibit C to the Eubanks

Declaration, Mr. Gayle was the long-time domestic partner/fiancé of 9/11 decedent Seilai Khoo.

Mr. Gayle and Ms. Khoo’s backgrounds were diverse: Mr. Gayle was from Jamaica and was

attending Columbia University playing soccer for the intercollegiate athletic team while Ms. Khoo

was a Malaysian national who had been educated in the British system of education in Singapore

prior to enrolling at Columbia University in New York. See Ex. C at ¶¶ 2, 3, 4, 6. Despite their

differences, the similarities in their situations—being from tropical countries and educated in a

similar secondary-school education while also both attending Columbia University in the

Computer Science program—brought them together. Id. at ¶¶ 4-6. They became a couple in 1984,

and they continued as a couple until Seilai Khoo’s untimely death on September 11, 2001. Id. at

¶ 5.

       While the two traveled extensively both locally and around the world together during their

17 years together, what truly made them a couple was how they supported each other in their

careers and other life pursuits. For example, as Mr. Gayle began to know Ms. Khoo better while

they were in college, he determined that the Computer Science program at Columbia University

was not appropriately challenging her, and Mr. Gayle encouraged her to take classes in Economics

because he believed that Seilai’s intelligence and drive would translate well to working somewhere

on Wall Street following graduation. Id. at ¶ 7. When Ms. Khoo was seeking her Chartered
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Financial Analyst certification, Mr. Gayle was there to provide support and give her space to do

the work needed to succeed. Id. at ¶ 13-14. And when Mr. Gayle sought to obtain more extensive

professional knowledge about newer internet technologies, Ms. Khoo supported him spending a

year in Silicon Valley gaining invaluable experience and then supporting him both emotionally

and financially when he returned in 1997 and began to build an internet start-up company that

required him to leave his full-time job. Id. at ¶¶ 18-23. And one of the reasons that Mr. Gayle

returned to New York rather than relocating both of them to California was to allow Ms. Khoo to

continue to build her career at Fred Alger Management where she rose to the rank of Executive

Vice President and Portfolio Manager on the 93rd Floor of One World Trade Center at the time she

was killed. Id. at ¶¶ 2, 19-20.

       When it came to marriage, the couple discussed this frequently because they were

completed committed to one another. Id. at ¶ 15. They often thought of simply going to the

courthouse and making it “official” or getting married during some of their frequent international

travels, but they had agreed to wait to get married until they had moved from their joint residence

in Jersey City, New Jersey to a new home in New York such that they could return from the

wedding to their selected New York home. Id. at ¶¶ 15-17. Before Mr. Gayle went to California

in 1996, he presented Ms. Khoo with an engagement ring to cement what they knew to be true—

that they were husband and wife. Id. at ¶ 18. Dr. Kingsley Chin, who was friends with both Mr.

Gayle and Ms. Khoo dating to their time at Columbia, wrote, “I closely witnessed the relationship

they developed and shared over seventeen years, and cannot imagine any other situation [other

than the terrorist attacks] that could have disrupted their strong partnership. Prior to SeiLai’s tragic

death on September 11, 2001, they were engaged and living together in their condominium in




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Jersey City, and close friends and family member [were very aware that] their marriage and family

plans were only being delayed because of career commitments.” Id. at ¶ 24.

        The couple lived together in Jersey City, New Jersey from 1992 until Ms. Khoo’s death on

September 11, 2001, and as mentioned above, they planned to move to new location in New York

City together in the near future. Id. at ¶¶ 14, 17. While the two did not commingle their finances,

this was more cultural than anything else as Mr. Gayle—because of the pay disparity between Ms.

Khoo’s successful work in finance and Mr. Gayle’s work in the technology sector, Mr. Gayle did

not want people to believe he was with Ms. Khoo solely for her money in addition to Mr. Gayle’s

Jamaican male bravado, he wanted to be able to stand on his own two feet while also supporting

Ms. Khoo’s provision of monetary support to her family members from her earnings. Id. at ¶ 25.

This support for Ms. Khoo leaving a legacy for her family extended into Ms. Khoo’s Last Will &

Testament which did not include funds for Mr. Gayle while naming him as the Executor which

was something to which he readily agreed and supported. Id. at ¶ 26. Despite not commingling

their finances, they remained of the mindset of “what’s mine is yours, and what’s yours is mine.”

Id. at ¶ 27.

        For Mr. Gayle, the “husband” title was less important than the relationship that he and Ms.

Khoo shared—they lived as husband and wife in every meaningful way. Id. at ¶ 30. They

contemplated adopting so that the demands of pregnancy would not impact Seilai’s work, but all

of those dreams were shattered on September 11, 2001. Id.

        For these reasons, Plaintiff Solomon Gayle meets all of the parameters set by the Court as

the functional equivalent of a spouse to 9/11 decedent Seilai Khoo, and Plaintiffs submit that Mr.

Gayle should be awarded solatium damages in the amount of $12,500,000.00.




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       B.      Erica Zimmerman, Step-Daughter of 9/11 Decedent Kenneth William
               Basnicki, Seeks a Determination that she is the Functional Equivalent of
               Kenneth William Basnicki’s Daughter with a requested award of IIED
               damages of $8,500,000.

       Erica Zimmerman is a Canadian citizen who lost her step-father, Kenneth William

Basnicki, also a Canadian citizen who was the Financial Marketing Director for BEA Systems and

was on a business trip to New York meeting with co-workers on the 106th Floor of the North Tower

when it was struck by the first hijacked airlines on September 11, 2001. See Eubanks Dec., Ex. D

(Declaration of Erica Zimmerman) at ¶¶ 1-2. At time, Erica Zimmerman was 21 years old, but

she was approximately two years old when she was first introduced to man she refers to as “Dad”

and four years old when her mother and Ken Basnicki were married. Id. at ¶¶ 3-4. As stated in

her Declaration, “Kenneth was my father in every sense of the word. He sheltered me, fed me,

clothed me and provided for me in every way a parent provides for their children. He provided

emotional, moral and spiritual guidance to me until the day he died.” Id. at ¶ 5. When Kenneth

and her mother were married, Kenneth expressed his desire to adopt Erica; however, Canadian

laws precluded such an adoption absent the permission of Erica’s biological father. Id. at ¶ 9.

Despite her biological father spending very little time with Erica while she was growing up and

making no meaningful contribution to Erica’s upbringing (including not providing financial

support to Erica’s mother after their divorce), Erica’s biological father refused to grant the required

permission for the adoption to proceed. Id. at ¶¶ 9-11. Kenneth, on the other hand, provided for

Erica’s every need, declared her as his dependent on his tax returns, identified her as his child in

his Last Will & Testament, and filled every role in Erica’s life that a father would fill. Id. at ¶¶ 5-

6, 8, 12. As a testament to his role as Ms. Zimmerman’s dad, an obituary for Mr. Basnicki ran in

the Union Daily Times on November 8, 2001 entitled “Still and Inspiration” providing quoted

insights into Ms. Zimmerman’s view of her father. In the article, she is quoted (under the name


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Erica Basnicki) as saying, “[i]t’s pretty normal to not listen to what your father has to say. Now

it’s funny how many times I say, ‘Dad always said this.’ I actually listen to him more now.”5 In

addressing her hope of studying journalism in New York, she stated, “[t]he best way to honor my

dad for me is to not be scared, and to live and go to school in New York…. I know my dad’s

fighting for me somehow. He’ll work his magic, and I’ll work my magic over here.”6 She remains

“guided by the love, kindness, understanding and family values shown me by Kenneth, and I am

the woman I am today because Kenneth was my father.” Ex. D at ¶ 13.

        For these reasons, Plaintiff Erica Zimmerman a/k/a Erica Zimmerman-Basnicki meets all

of the parameters set by the Court as the functional equivalent of a child to 9/11 decedent Kenneth

William Basnicki, and Plaintiffs submit that Ms. Zimmerman should be awarded solatium

damages in the amount of $8,500,000.00.

VII.    Plaintiffs will Seek Punitive Damages at a Later Date.

        In light of the Court’s decision in related litigation to defer determination of punitive

damage issues until a later stage of the litigation, Plaintiffs herein request permission to address

the issue of punitive damages at a later date. See, e.g., ECF No. 3666 (Judge Daniels order in

Burnett, authorizing other plaintiffs to make an application for punitive damages at a later date

consistent with any future rulings of the Court).

VIII. The Court Should Award Prejudgment Interest at 4.96 Percent Per Annum,
      Compounded Annually to all of the claims from September 11, 2001 Through the
      Date of Judgment.

        An award of prejudgment interest is within the sound discretion of a trial court and is

warranted when plaintiffs are delayed in recovering compensation for non-economic injuries


5
  See “Kenneth Basnicki Obituary: Still an Inspiration,” published by Union Daily Times on Nov. 8, 2001, accessed
at https://www.legacy.com/us/obituaries/uniondailytimes/name/kenneth-basnicki-obituary?pid=128867 (last visited
June 19, 2024).
6
  Id.

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caused by acts of terrorism. See Baker v. Socialist People’s Libyan Arab Jamahirya, 775 F. Supp.

2d 48, 86 (D.D.C. 2011). This Court awarded the Havlish plaintiffs prejudgment interest at a rate

of 4.96% on their pain and suffering damages awards, to be calculated from September 11, 2001

until the date of judgment (ECF 2619 at 13-14). This Court, recognizing that prejudgment interest

was appropriate in cases such as this case, adopted the magistrate judge’s reasoning, finding that

an award of prejudgment interest was appropriate and accepting the rate of 4.96%, as proposed by

the Havlish plaintiffs’ expert.

       After the Havlish award, plaintiffs in Ashton and Bauer proposed, and the Court agreed,

that prejudgment simple interest at the New York State statutory rate of nine percent per annum

was appropriate in cases where the injuries arose in New York and the prejudgment interest used

in Havlish, 4.96 percent per annum, compounded annually, should be reserved for only those cases

where the injuries arose in other states. See ECF Nos. 3229 at 2; 3300 at 1; 3341 at 1.

       The Second Circuit has held that New York State’s statutory prejudgment interest rate

should apply to the damages awarded to World Trade Center complex leaseholders in their

litigation against American Airlines and United Airlines brought under the federal Air

Transportation Safety and System Stabilization Act (“ATSSSA”). World Trade Farmers Market,

Inc. v. American Airlines, Inc. (In Re: September 11th Litigation), 2015 U.S. App. LEXIS 16619,

*66 (2d Cir. Sept. 17, 2015). In that case, the Second Circuit concluded that a federal cause of

action under the ATSSSA must look to state rules concerning prejudgment interest.              Id.

Accordingly, the Second Circuit held that New York’s statutory prejudgment interest rate of nine

percent as opposed to a lower rate crafted under federal law, had to be applied to the plaintiffs’

9/11 claims. Id.




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       However, more recently, in Hoglan, Magistrate Judge Netburn recommended that the 4.96

percent interest rate for prejudgment interest should be applied to all of the solatium claims. ECF

No. 3363 at 28-29. Judge Daniels adopted Judge Netburn’s Hoglan Report in its entirety and

applied the interest rate of 4.96 percent per annum, compounded annually to all of the claims. ECF

No. 3384 at 6.

       In light of the Court’s decision in the Hoglan matter, applying the 4.96 percent rate to

prejudgment interest, the Moving Plaintiffs identified in Exhibits A and B respectfully request that

the clerk be directed to award prejudgment interest at the rate of 4.96 percent per annum,

compounded annually, running from September 11, 2001 until the date of the judgment.

                                          CONCLUSION

       For all of the reasons herein, as well as those set forth in the submissions of the other

plaintiffs in this case and plaintiffs in the other 9/11-related cases in the In re Terrorist Attacks on

September 11, 2001 multidistrict litigation, the Moving Plaintiffs on Exhibit A respectfully request

that this Court award them IIED damages of $12,500,000 per spouse, $8,500,000 per parent,

$8,500,000 per child, and $4,250,000 per sibling. Furthermore, the Moving Plaintiffs on Exhibit

B respectfully request that the Court recognize them as functional equivalents of immediate family

members of their 9/11 decedents and award them IIED damages in the amounts requested. All of

the Moving Plaintiffs also request that the Court: (1) award prejudgment interest at the rate of 4.96

percent per annum, compounded annually for the period from September 11, 2001 until the date

of the judgment; (2) grant permission for the Moving Plaintiffs to seek punitive damages or other

appropriate damages at a later date; and (3) grant permission for all similarly situated Burnett

Plaintiffs o submit applications for damages awards in later stages, to the extent such awards have

not previously been addressed.



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Dated: June 19, 2024               Respectfully submitted,

                                   MOTLEY RICE LLC


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